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IN THE UNITED STATES BANKRUPTCY COURT _ .
FOR THE SOUTHERN DISTRICT OF TEXAS OCT 7 2013
HOUSTON DIVISION .
Devic v. Sry, Clesk Of Caut
In re: )
)
HOUSTON REGIONAL SPORTS ) Chapter 11
NETWORK, L.P. )
) Case No. 13-35998
Alleged Debtor. )
)
)

 

HOUSTON ASTROS’ MOTION TO DISMISS
INVOLUNTARY PETITION FOR CHAPTER 11

 

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INTRODUCTION

The Court should reject Comcast’s attempt to put the Houston Regional Sports Network,
L.P. (“the Network”) into bankruptcy. The Astros and Comcast (along with the Rockets) are
partners in the Network and they have a disagreement about how their partnership should be run.
Comcast’s Involuntary Petition serves no legitimate reorganization objective under chapter 11,
and it benefits no class of unsecured creditors. The Involuntary Petition filed in this action is a
transparent attempt to acquire the Network and gain control over the Astros’ most valuable asset,
the media rights to televise their own Major League Baseball games. Since the Astros provided
the Network a license to televise Astros games and Comcast agreed to market the Network’s
programming to other cable distributors, Comcast has delivered only informal proposals to enter
long-term affiliation agreements with undervalued rates that would jeopardize the Astros’ future
success in both baseball and business operations. Just three days before the Astros could
terminate their media rights agreement with the Network and find a stronger media rights
foundation for the Astros, Comcast orchestrated the bankruptcy to gain leverage over the Astros
in their business dispute.

The Involuntary Petition should be dismissed for the following three separate and
independent reasons. First, Comcast cannot satisfy Section 303(b) of the Bankruptcy Code
because there are not three or more entities that have undisputed, bona fide claims. Second,
Comcast orchestrated the filing in bad faith, to avoid termination of the Astros’ media rights
agreement with the Network and secure a tactical advantage over the Astros in their partnership
dispute. Third, Comcast’s plan, which also proposes the appointment of a trustee to facilitate the
sale of the Network and its assets to a Comcast affiliate, runs afoul of well-settled bankruptcy

and intellectual property law because it seeks the assumption and assignment of partnership and
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media rights agreements, which are both personal services contracts and cannot be assigned as a
matter of law.

There are no third-party creditors’ interests at stake here. Each of the Petitioning
Creditors is a subsidiary of Comcast and each is an affiliate of the Comcast entity, Houston
SportsNet Holdings, LLC, that owns Comcast’s interests in the Network. There are no bona fide
liabilities that are owed to the Petitioning Creditors—and there are certainly not three distinct
bona fide liabilities to satisfy Section 303(b) of the Bankruptcy Code. Two of the Petitioning
Creditors’ claims are based on unauthorized oral contracts to which the Astros did not consent—
a requirement under the unanimous consent provisions of the parties’ agreement. The other two
Petitioning Creditors’ claims were not due as of the date of this Petition, and were only coming
due after the date the Astros could terminate the deal. The Network is regularly paying its debts
to actual third partics. ae
PF Both the Astros and Comcast have agreed to backstop valid prepetition claims
of third-party creditors.

Comcast seeks to use this Court’s jurisdiction to accomplish indirectly what it is
expressly prohibited from accomplishing directly under its agreements with the Astros.
Specifically, Comcast devised the filing of the Involuntary Petition to circumvent the Astros’
rights to: (1) withhold consent for the filing of a petition for bankruptcy; (2) terminate their
media rights agreement with the Network; (3) withhold consent for the Network to enter into
affiliation agreements with undervalued rates; and (4) withhold consent for a sale of the
Network. These were bargained-for rights between highly sophisticated entities. Comcast threw
the Network into bankruptcy to circumvent the Astros’ rights and to gain an improper tactical

advantage over the Astros in the ongoing partnership dispute.
 

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The Court should also dismiss the chapter 11 proceedings as they are a road to nowhere.
Comeast’s vision appears to be that an independent trustee can be appointed and then Comcast
could buy the Astros’ media rights without the Astros’ consent. The mechanics that Comcast
seeks to use to implement its plan run afoul of well-settled bankruptcy and intellectual property
law. The application for a trustee and the assumption and assignment of the Limited Partnership
Agreement and the Astros’ Media Rights Agreement, which are personal services contracts,
cannot be accomplished as a matter of law. While the Astros certainly respect the equitable
powers of the Bankruptcy Court, it is not appropriate for the Court to rewrite contracts and rights
governed by state law, including the Astros’ partner consent rights that form the foundation of
their media rights—their most valuable and personal assets—by giving them to a third-party
trustee who it does not control.

And it is especially inappropriate to facilitate a redetermination of those consent rights
when those rights relate to the Astros’ intellectual property. Intellectual property law and the
Bankruptcy Code itself make crystal clear that a debtor-in-possession cannot transfer such
intellectual property rights without the consent of the owner and emphatically rejects the notion
that these rights can be vested in a trustee. As such, Comcast’s strategy of using chapter 11 to
strip the Astros of their rights is not a legally accomplishable strategy.

Comcast and its subsidiary Petitioning Creditors are attempting to use this Court to force
the Astros to accept a longer-term, undervalued rate for the Astros’ media rights. And now it has
organized this collusive campaign in an effort to circumvent the terms of the deal it struck. As

such, the Court should dismiss the Involuntary Petition.
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BACKGROUND
A. The Astros Form The Network To Monetize Their Media Rights.

In 2003, the Astros’ and the Rockets” formed the Houston Regional Sports Network, L.P.
(the “Network”) to broadcast the teams’ games and Houston professional sports programming on
a single cable channel. This arrangement allowed the Astros to monetize their most valuable
asset—their media rights—by granting the Network a license to feature the Astros games as part
of the Network’s regional sports programming, in exchange for the payment of media rights fees.

A Major League Baseball team’s media rights—and its ability to monetize those rights
through television programming—are critical to the team’s success both on and off the field.
Because media rights fees are the largest source of revenue for a team, the terms of a long-term
media rights deal can make or break a team. A favorable media rights deal can support a higher
payroll and—by extension—the ability to acquire and retain top talent. By contrast, an
undervalued media rights deal can suppress a team’s payroll for ten to twenty years (the typical
length of such deals), jeopardizing the team’s long-term success in both baseball and business

operations.’

 

' Unless otherwise specified, “Astros” refers to Houston Astros, LLC and/or its affiliates and predecessors
including McLane Company, LLC f/k/a Houston McLane Company, Inc. d/b/a the Houston Astros.

2 Unless otherwise specified, “Rockets” refers to Rockets Partner, L.P., JTA Sports, Inc., Rocket Ball, Ltd.,
and/or their affiliates and predecessors.

3 Recognizing the importance of a team’s media rights — and the importance of maintaining the integrity of
those rights — the MLB Constitution contains detailed provisions governing the ownership, licensing, and
transfer of media rights to broadcast MLB games. The Constitution provides that “each Club shall have, with
respect to each game in which it participates, the right to authorize the telecast of such game ... within its home
television territory.” MLB Const. Art. X § 3(a) (Ex. 1). It also requires a vote of a majority of the MLB teams
to approve any license of a team’s media rights to a third party. See id. Art. V, Sec. 2(a)(5).

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B. Comcast Acquires A Minority Interest In The Network.

Comcast is the largest cable company in the United States and in the Houston
metropolitan area.’ One of the largest and most sophisticated companies in the country, Comcast
is a Fortune Fifty company with more than $62 billion in revenue reported last year. It is an
experienced and aggressive player in the mergers and acquisition market—and in the ownership
and operation of sports television networks. Through its various affiliates and subsidiaries,
Comcast owns and operates a chain of regional sports networks around the country.

Comcast became interested in purchasing part of the Network in 2010. After lengthy
negotiations, the Astros and the Rockets agreed to admit Comcast as a third limited partner in the
Network. The contracts governing the rights and responsibilities of Comcast, the Astros, and the
Rockets were negotiated at length and signed as part of an integrated transaction on October 29,
2010.°

C. The Structure And Corporate Governance Of The Network.

The Network is organized as a limited partnership among the Astros, the Rockets, and

Com,

* Unless otherwise specified, “Comcast” refers to Comcast Corporation and/or its direct and indirect wholly-
owned and partially-owned subsidiaries including but not limited to Houston SportsNet Holdings, LLC,
Comcast Sports Management Services, LLC, Comcast Cable Communications, LLC, and Houston SportsNet
Finance, LLC, National Digital Television Center, LLC, and Comcast SportsNet California, LLC.

 

° The Transaction Agreements include, among others: (1) the Second Amended and Restated Agreement of
Limited Partnership of Houston Regional Sports Network, L.P. (“Limited Partnership Agreement”); (2) the
Second Amended and Restated Limited Liability Company Agreement of Houston Regional Sports Network,
LLC (“General Partner Agreement”) (collectively “Operating Agreements”; (3) the Comcast Network Service
Agreement by and between Comcast Sports Management Services, LLC and the Network (the “Comcast
Management Services Agreement”); (4) the Comcast California (Houston) Affiliation Agreement by and
between Comcast Cable Communications, LLC and the Network (the “Comcast Affiliation Agreement”); and
(5) the Credit Agreement by and between Houston SportsNet Finance, LLC and the Network, the Guarantee and
Security Agreement by and between Houston SportsNet Finance, LLC and the General Partner, and the Security
Agreement by and between Houston SportsNet Finance, LLC and the Network (collectively, the “Comcast
Credit Agreement”); (6) the Amended and Restated Media Rights License Agreement by and between Houston
McClane Company, LLC and the Network (the “Astros’ Media Rights Agreement”); and (7) the Amended and
Restated Media Rights License Agreement by and between Rocket Ball, Ltd. and the Network (the “Rockets’
Media Rights Agreement,” together with the Astros’ Media Rights Agreement, the “Media Rights

Agreements”).

 

 
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PO The rights and responsibilities of the three partners are

governed by the Network’s Limited Partnership Agreement.

Pursuant to the Limited Partnership Agreement, the Network is managed by its general
partner, Houston Regional Sports Network, LLC (“General Partner”), a limited liability company
that is also owned by the Astros, the Rockets, and Comcast. The board of the General Partner
(“the Board”) is comprised of one Astros director, one Rockets director, and two Comcast
directors. The corporate governance of the General Partner is set forth in the General Partner
Agreement.

D. The Limited Partnership Agreement, The General Partner Agreement, And

The Astros’ Media Rights Agreement All Contain Vital Protections To
Protect The Astros’ Media Rights.

The Limited Partnership Agreement and the General Partner Agreement were negotiated
by sophisticated parties represented by sophisticated counsel. Together, these agreements detail
the corporate governance procedures that govern the ownership and operation of the Network.
Among other important provisions, the three partners expressly agreed that the following acts

require the unanimous consent from all of the directors of the General Partner:

 

These consent rights were critical terms of the deal that admitted Comcast to the Network

partnership. They were indispensable to the protection of the Astros’ media rights because,

 

5 Relevant sections of the General Partner Agreement are attached as Ex. 2.

6
 

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without them, the Comcast and Rockets directors (voting together) could control the value of the
Astros’ most valuable asset—their media rights—by causing the Network to enter into
undervalued affiliation agreements, modify the terms of the Astros’ Media Rights Agreement, or
file for bankruptcy. The consent rights in the General Partner Agreement were designed to
prevent precisely the kind of destructive action that Comcast now attempts to unilaterally impose
on the Astros.

E. The Astros’ Media Rights Agreement With The Network Contains
Additional Provisions To Protect The Astros’ Media Rights.

The Astros’ Media Rights Agreement is an agreement between the Astros and the
Network, in which the Astros granted the Network exclusive rights to exhibit team
programming, in exchange for the payment of media rights fees. In addition to the corporate
governance protections in the General Partner Agreement, the Media Rights Agreement contains
additional protections for the Astros:

e In exchange for the right to broadcast Astros baseball games, the Network is
obligated to pay the Astros a media rights fee of approximately a in
2013.’ If the Network fails to make a required media rights payments, the Astros
have the right to terminate the Media Rights Agreement upon written notice if the
Network fails to cure the default within 60 days. See Astros’ Media Rights
Agreement § 12.3(D)*.

e The Astros have the right to terminate the Media Rights Agreement if the
Network becomes insolvent or files for bankruptcy. See id. § 12. 5(C).? In
addition, the Media Rights Agreement expressly provides that a bankruptcy
trustee “shall [not] have any right to continue this Agreement or to in any way
use the rights granted under this Agreement?” if the Astros exercise their right to
terminate the agreement because of the bankruptcy. Id.'°

 

7 The media rights fee increases | and is payable in six equal installments that
are due on the last day of each month from April through September.

’ Relevant sections of the Astros’ Media Rights Agreement are attached as Ex. 3.

° As a personal services agreement as well as a trademark agreement, such rights continues to be fully
enforceable in bankruptcy.

Emphasis added unless otherwise noted.
 

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The Astros bargained for each of these protections in the Network’s Limited Partnership
Agreement, the General Partner Agreement, and the Astros’ Media Rights Agreement, and they
relied on the integrity of those protections. For its part, Comcast, the nation’s largest and most
sophisticated cable company, agreed to honor each of these protections as a condition of its entry
into the Network partnership.

F. Comcast’s Affiliation Agreement.

Comcast is not only a partner in the Network and member of the General Partner; it also
carries the Network on its cable system in the region. Pursuant to a separate Comcast Affiliation
Agreement between the Network and Comcast Cable Communications, LLC (“Comcast Cable”),

Comcast Cable carries the Network on its cable system in exchange for a monthly subscriber fee.

The Astros protected themselves against this scenario by requiring the unanimous
consent of all the directors on the Board before the Network can enter into an affiliation
agreement. See General Partner Agreement § 5.10(a) & Schedule C(10). The unanimous
consent provisions were included so that Comcast and the Rockets could not impose

unacceptably low base rates on the Astros in connection with affiliation agreements, fF
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G. Comcast Asks The Network To Accept Lower Base Rates.

Since joining the Network, Comcast, in its role as manager through the Management
Services Agreement, has brought a handful of informal verbal proposals for affiliation
agreements to the Network—and has pressured the Network to consider entering into affiliation
agreements with substantially lower base rates than those contained in the Comcast Affiliation

Agreement. Those proposals significantly undervalued the Network’s service Po

The Astros believed that accepting these informal verbal proposals for affiliation

agreements with undervalued base rates would have undervalued the Network’s service,

depressing the value of the partners’ interests in the Network

and crippling the Network’s ability to pay the
Astros under the Astros’ Media Rights Agreement, jeopardizing the Astros’ long-term prospects
for improving the team. Accordingly, the Astros informed Comcast that they would exercise
their consent right to protect the Network and themselves from the discounted proposals

Comcast had suggested.

H. The Network Fails To Make Two Media Rights Payments To The Astros,
Providing The Astros The Right To Terminate The Astros’ Media Rights
Agreement.

On July 31, 2013, the Network failed to make a media rights payment to the Astros
required by the Astros’ Media Rights Agreement. That same day, the Astros sent a notice of
default to the Network. July 31, 2013 Default Letter (Ex. 4). On August 30, 2013, the Network

missed a second installment payment to the Astros under the Astros’ Media Rights Agreement.

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The Astros sent a second default notice to the Network on September 3, 2013. Sept. 3, 2013
Default Letter (Ex. 5). The second notice informed the Network that, under Section 12.3(D) of
the Astros’ Media Rights Agreement, the Network would have sixty days from the first missed
payment—or until September 29, 2013—to cure the default. Jd. If the defaulted payments
remained uncured as of September 30, 2013, the Astros would have the right to immediately
terminate the Astros’ Media Rights Agreement by written notice. See Astros’ Media Rights
Agreement § 12.3(D).

L Four Comcast Affiliates File This Involuntary Petition In An Attempt To
Eliminate The Astros’ Right To Terminate The Media Rights Agreement.

There is no dispute that the Astros had the right to terminate their Media Rights
Agreement with the Network on September 30, 2013. Sept. 28, 2013 Emergency Mot. for
Appointment of Interim Chapter 11 Trustee (“Trustee Mot.”) [Dkt. 3] 7 41; Sept. 29, 2013 Jon D.
Litner Decl. [Dkt. 5] 1 18.'’ On September 27, 2013, just days before that right would have
accrued, four Petitioning Creditors—’each an affiliate of Comcast”—filed this Involuntary
Petition against the Network under chapter 11 of the Bankruptcy Code. Trustee Mot. 45; see
Sept. 30, 2013 Mot. Hr’g Tr. at 12. The Petitioning Creditors ask the Court to appoint a trustee
so Comcast Lender can make a bid to acquire the Network or substantially all of its assets.
Trustee Mot. § 7.

Two of the Comcast affiliates that seek to qualify as Petitioning Creditors do so on the
basis of alleged “verbal arrangement[s]” with the Network. Sept. 29, 2013 John C. Ruth Decl.
[Dkt. 7] 2; Sept. 29, 2013 Bruce A. Davis Decl. [Dkt. 6] 2. The other two Comcast affiliates

assert claims that were not due and owing as of the Petition Date. The Petitioning Creditors are:

 

'' Although the original affidavits filed by the Petitioning Creditors on September 29, 2013 in support of their
Motion for An Order Appointing An Interim Trustee will be deemed withdrawn upon the filing of amended
affidavits, Paragraph 1 of the Court’s September 30, 2013 Order provides that those affidavits “remain the
statements of the person making them for the purposes of evidence in a proceeding or case.”

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1. Comcast Media.

National Digital Television Center, LLC (“Comcast Media”) alleges that it had a “verbal
arrangement” with the Network and it was owed $10,517.50 as of the date of the Involuntary
Petition. Davis Decl. {J 2-3. The declarations submitted by the Petitioning Creditors provide no
indication when this “verbal arrangement” was formed, what the terms were, or how the pricing
was determined.

Comcast Media is a subsidiary of Comcast Corporation and an affiliate of Houston
SportsNet Holdings, LLC (“Comcast Owner’), a limited partner in the Network. The Network
was prohibited by the General Partner Agreement from entering into a “verbal arrangement”
with Comcast Media without the unanimous consent of the directors of the Network’s General
Partner, including the Astros director. See General Partner Agreement at Schedule C(7). No
such consent was provided. Oct. 7, 2013 Giles Kibbe Decl. § 6.

Nor did Comcast Media make a demand for payment of $10,517.50 from the Network
before the Involuntary Petition was filed. During meetings and teleconferences of the Board, in
which the Comeast directors and the Astros director participated, there was never any mention of
the “verbal arrangement” with—or outstanding debt owed to—Comcast Media. See Kibbe Decl.
{ 7. Comcast Media first notified the Network of this alleged debt in the Involuntary Petition.

2. Comcast California.

Comcast SportsNet California, LLC (“Comcast California”) alleges that it had a “verbal
arrangement” with the Network and was owed $43,129.02 as of the date of the Involuntary
Petition. Ruth Decl. §§ 2-3. The declarations submitted by the Petitioning Creditors provide no
indication when this “verbal arrangement” was formed, what the terms were, or how the pricing

was determined.

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Like Comcast Media, Comcast California is a subsidiary of Comcast Corporation and an
affiliate of Comcast Owner, a limited partner in the Network. The Network was prohibited by
the General Partner Agreement from entering into a “verbal arrangement” with Comcast
California without the unanimous consent of the directors of the Network’s General Partner,
including the Astros director. See General Partner Agreement at Schedule C(7). No such
consent was provided. Kibbe Decl. § 8.

Nor did Comcast California make a demand for payment of $43,129.02 from the
Network before the Involuntary Petition was filed. During meetings and teleconferences of the
Board, in which the Comcast directors and the Astros director participated, there was never any
mention of a “verbal arrangement” with—or outstanding debt owed to—Comcast California.
Kibbe Dec]. 9 9. Again, Comcast California first notified the Network of this alleged debt in the
Involuntary Petition.

3. Comcast Services.

Comcast Sports Management Services, LLC (“Comcast Services”) is a subsidiary of
Comcast Corporation and an affiliate of Comcast Owner, a limited partner in the Network.
Comcast Services provides management oversight services and support to the Network pursuant
to the Comcast Management Services Agreement. Comcast Services’ most important
responsibilities include the sales and marketing of the Network’s service to other MVPDs. In
exchange for services provided under the Comcast Management Services Agreement, the

Network pays Comcast Services an annual fee of Po for the current year, in equal

installments of approximately F Litner Decl. {[ 9.

The Network has paid Comcast Services all of the quarterly fee payments that became

due and owing prior to the Petition Date—and Comcast Services does not allege otherwise.

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Instead, Comcast Services seeks to invoke this Court’s jurisdiction based on a claim for the
quarterly interest payment for the third quarter of 2013, which “will become due and owing on
October 15, 2013,” more than two weeks after the Petition Date. Jd.
4. Comcast Lender.
Houston SportsNet Finance, LLC (“Comcast Lender”) is a subsidiary of Comcast
Corporation and an affiliate of Comcast Owner, a limited partner in the Network. The Network

and Comcast Lender entered into the Comcast Credit Agreement, pursuant to which the Network

was permitted to borrow up to

The Network has made all of the quarterly interest payments that became due prior to the
Petition Date—and Comcast Lender does not allege otherwise. Instead, Comcast Lender seeks

to invoke the Court’s jurisdiction based on a claim for the quarterly interest payment for the third

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quarter of 2013, which “will become due and owing on September 30, 2013,” after the Petition
Date. Id. § 11.

J. The Network Has Cash On Hand To Pay Third-Party Creditors.
The Network is regularly paying its debts to actual third parties. Po
ET

Astros and Comcast have agreed to backstop valid prepetition claims of third-party creditors.”

ARGUMENT

I. THE INVOLUNTARY PETITION SHOULD BE DISMISSED BECAUSE
COMCAST CANNOT SATISFY BANKRUPTCY CODE SECTION 303.

Petitioning Creditors identify two grounds for the filing of the Involuntary Petition, 11
U.S.C. Section 303 (b)(1) and Section 303(h). Neither provision is satisfied. There are, at most,
only two Comcast entities that may have undisputed claims against the Network—not three or
more as required by Section 303(b)(1). And the Petitioning Creditors do not—and cannot—
demonstrate that Network was not generally paying its debts as they became due at the time the
Involuntary Petition was filed as required by Section 303(h) .

A, Petitioning Creditors Cannot Demonstrate That There Are Three Holders Of
Noncontingent, Undisputed Claims Under Section 303(b).

Chapter 11 Section 303(b)(1) of the Bankruptcy Code provides that an involuntary case

may be commenced:

by three or more entities, each of which is either a holder of a claim against such
person that is not contingent as to liability or the subject of a bona fide dispute as
to liability or amount, ... if such noncontingent, undisputed claims aggregate at
least $15,325 more than the value of any lien on property of the debtor securing
such claims held by the holders of such claims.

 

12 See Sept. 30, 2013 G. Kibbe to Network General Manager (‘“[T]he Astros Member is prepared to backstop the
payments of the prepetition claims of third-party creditors listed on the Company’s accounts payable report
dated as of September 24, 2013 that are not affiliates, subsidiaries, or otherwise related to the Board Members.”
(Ex. 6); Trustee Mot. § 7 (stating that a Comcast buyout “would likely lead to prepetition creditors’ claims and
all reasonably foreseeable administrative expenses being paid in full”).

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The test in Section 303(b)(1) is not whether three or more entities assert claims. The test is
narrower. It is whether those entities assert claims that are not the subject of a bona fide dispute
as to liability or amount. The Petitioning Creditors have the burden to establish a prima facie
case that no bona fide dispute exists as to their claims. In re Norris, 114 F.3d 1182, 1997 WL
256808, at *4 (Sth Cir. 1997). This Court “must ‘determine whether there is an objective basis
for either a factual or a legal dispute as to the validity of the debt.’” Jd. (quoting In re Rimell,
946 F.2d 1363, 1365 (8th Cir. 1991)).

Petitioning Creditors cannot demonstrate that there are “three or more entities” that have
bona fide claims against the Network. Although Comcast’s Involuntary Petition is based on the
purported claims of four Comcast affiliates, two of those four purported claims are based on
undocumented, so-called ‘verbal arrangements” with the Network that are unauthorized under
the terms of the General Partner Agreement. Comcast Media alleges that it is owed $10,517.50
for transmission-related services pursuant to a “verbal arrangement” with the Network. Davis
Decl. {§ 2-3. Comcast California alleges that it is owed $43,129.02 for production services
provided to the Network pursuant to another “verbal arrangement.” Ruth Decl. {fj 2-3.
However, the General Partner Agreement requires “unanimous director approval” of “entry into
or consummation of any transaction between [the Network], on the one hand, and a Member,
Partner or any of their respective Affiliates.” General Partner Agreement Schedule C(7).
Unanimous director approval was neither sought nor obtained for these alleged “verbal
arrangements” with Comcast Media and Comcast California. Kibbe Decl. J] 6-9. Because two
Petitioning Creditors do not have undisputed claims against the Network, the Involuntary

Petition fails to satisfy Section 303(b)(1).

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This is further demonstrated by the September 24, 2013 aging report prepared by
Comcast Services that identifies all outstanding liabilities of the Network immediately before the
filing of the Involuntary Petition. See Sept. 24, 2013 Weekly Aging Report (Ex. 7); Comcast
Management Services Agreement, Attachment B 9 5(d) (“Comcast will provide [accounts
payable processing and reporting] on Network’s behalf.”).'? There is no reference in this report
to any outstanding obligations to Comcast California. With respect to Comcast Media, the report
shows an outstanding August 8, 2013 invoice for fF and an outstanding September 9,
2013 invoice for f Those invoices total | $10,517.50—and in the
comments field to the aging report, Comcast Services itself noted that the August invoice lacked
proper coding, and the September invoice is “incorrect.” Sept. 24, 2013 Weekly Aging Report.
Thus, the Network’s own aging report (prepared by Comcast Services) casts serious doubt on
whether the Network was properly invoiced for either of these Petitioning Creditors’ claims; and
it demonstrates that, at the very minimum, the existence and amount of their purported claims are
in dispute.”

B. Petitioning Creditors Cannot Demonstrate That The Network Is Not

Generally Paying Its Debts As They Become Due As Required Under Section
303(h).
Section 303(h) permits the Court to order relief in an involuntary case “only if the debtor

is generally not paying such debtor’s debts as such debts become due unless such debts are the

subject of a bona fide dispute as to liability or amount.” 11 U.S.C. § 303(h)(1). The Petitioning

 

'? Relevant sections of the Comcast Management Service Agreement are attached as Ex. 8.

‘4 The Court should also disregard Comcast Lender as an entity who has a noncontingent, undisputed claim.
Although some courts have held that an entity that has a secured claim may count toward Section 303(b)’s
numerosity requirement provided the unsecured claims meet the minimum threshold amount, the Astros have
not identified any case where, as here, the secured claim was: (1) based on a performing loan that was not in
default, Pick Decl. 11 (conceding that Comcast Lender’s claim rests on the Network’s quarterly interest
payment that would have become due three days after the petition); and (2) held by an affiliate of one of
partners in the debtor.

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Creditors have the burden of showing that the Network was not generally paying its debts as they
became due at the time of the Involuntary Petition—and that such debts are not subject to a bona
fide dispute as to liability or amount. See, e.g., In re Briggs, Nos. 07-34533 & 07-34534, 2008
WL 190463, at *2 (N.D. Tex. Jan. 18, 2008); see In re Green Hills Dev. Co., 445 B.R. 647, 657
(S. D. Miss. 2011). “The determination of whether a debtor is generally paying his debts must
be made as of the date the petition is filed.” In re Norris, 1997 WL 256808, at *6; In re Green
Hills Dev. Co., 445 B.R. at 657 (petitioning creditors must prove that alleged debtor was not
paying its debts “at the time the petition was filed”). A bankruptcy court may not “consider
debts which have not [yet] become due”—i.e., as of the date of the petition. Jn re Norris, 1997
WL 256808, at *6.

The Involuntary Petition should be dismissed because Comcast cannot show that the
Network was generally not paying its debts as they became due. Comcast has not provided any
evidence of any debts owed to third-party creditors at the time of the Petition. As Comcast
concedes, Comcast Lender and Comcast Services do not have claims that were due and owing at
the time of the Involuntary Petition. Pick Decl. (11; Litner Decl. §9. Comcast Media and
Comcast California assert that they were owed funds at the time of the Involuntary Petition, but
those purported claims are the subject of bona fide disputes as to both liability and amount, and
do not fall within Section 303(h). Indeed, Comcast California’s purported claim is not identified

on the Network’s September 24 aging report prepared by Comcast Services. Sept. 24, 2013

Weekly Aging Report, IIe
MU 500 essurning that Comcast Media's and

Comcast California’s purported claims of $53,000 are valid, there are serious questions as to

whether Comcast Services’ failure to pay those claims was due to unwillingness to pay, rather

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than an inability to pay. The only undisputed claims that Comcast identifies that were due and
owing at the time of the Involuntary Petition are the July 31 and August 30, 2013 payments owed
to the Astros under the Astros’ Media Rights Agreement. In short, Petitioning Creditors do
not—and cannot—demonstrate that the Network was “generally not paying” its debts as they
became due as required under Section 303(h). And seen in its proper context, the “generally not
paying” test is meant to limit involuntary cases to those where third party creditors are genuinely
at risk. It would be perverse for the test to be a springboard to further injure the holder of the
only material unpaid claim—and the very basis of its assertion here—by setting in motion a
chapter 11 expressly designed to strip that holder of its contractual termination right.

II. THE INVOLUNTARY PETITION SHOULD BE DISMISSED FOR CAUSE
BECAUSE IT IN BAD FAITH.

“Lack of good faith in the filing of a Chapter 11 bankruptcy petition constitutes cause for
dismissal under 11 U.S.C. § 1112(b).” In re Elmwood Dev. Co., 964 F.2d 508, 510, reh’g
denied, 974 F.2d 1337 (Sth Cir. 1992); In re Humble Place Joint Venture, 936 F.2d 814, 816-17
(5th Cir. 1991) (affirming § 1112(b) dismissal of chapter 11 petition filed in bad faith). The facts
here demonstrate that the Involuntary Petition was filed in bad faith — in order to circumvent
multiple partnership and contract provisions and gain a tactical advantage in a business dispute
between partners in the Network — and should be dismissed pursuant to Section 1112(b). In
orchestrating the filing of this Involuntary Petition, Comcast seeks to accomplish indirectly, and
through this Court’s jurisdiction, what it is expressly prohibited from accomplishing directly.

First, the collusive filing of the Involuntary Petition was designed to circumvent the
provision in the General Partner Agreement that expressly prohibits the “voluntary filing of a
petition for bankruptcy” without the Astros’ consent. See General Partner Agreement, Schedule

C(19). Second, by its own admission, Comcast filed the Involuntary Petition to prevent the

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Astros from exercising their undisputed contractual right to terminate the Media Rights
Agreement. See Trustee Mot. §41. Third, by its own admission, Comcast wants to use the
bankruptcy proceedings to purchase all or substantially all of the Network’s assets without the
Astros’ consent (or perhaps, impose affiliation agreements with other MVPDs to broadcast
Astros games without the Astros’ consent). Jd. J 7.

This case stems from a dispute between the Astros and Comcast over whether the
Network should enter into certain affiliation agreements with other MVPDs to broadcast the
Network’s programming at undervalued base rates. The Astros bargained for, and Comcast
agreed to, a provision in the General Partner Agreement in which the Astros were given the right
to consent to any such proposed affiliation agreements. The Astros have indicated that they
would withhold their consent with respect to a handful of informal verbal proposals conveyed by
Comcast. And the Astros did so in the best interests of their baseball and business operations.

Comcast’s actions are expressly prohibited by the General Partner Agreement and the
Astros’ Media Rights Agreement that the Astros bargained for and that Comcast agreed to. In
short, Comcast orchestrated the filing of the Involuntary Petition by its affiliates for the
indisputable purpose of circumventing the Astros’ contract and consent rights and gaining an
unfair and improper tactical advantage in a dispute between partners in the Network. The law
does not permit such a bad faith filing.

Courts in the Fifth Circuit have repeatedly dismissed bankruptcy petitions filed for the
bad faith purpose of gaining an advantage in disputes among business partners. See, e.g., In re
Brazos Emergency Physicians Ass’n, P.A., 471 F. App’x 393, 394 (Sth Cir. 2012); In re Antelope
Techs., Inc., 431 F. App’x 272, 273 (Sth Cir. 2011) (affirming dismissal of chapter 11 petition

filed in bad faith where the debtor corporation filed the petition to gain an advantage in dispute

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between minority shareholders and majority shareholders of the debtor corporation); Jn re
Sherwood Enters., Inc., 112 B.R. 165, 169 (Bankr. S.D. Tex. 1989) (dismissing bad faith
involuntary petition where the primary motivation was to re-litigate a dispute), judgment entered,
4 Tex. Bankr. Ct. Rep. 116 (Bankr. S.D. Tex. Jan. 27, 1989). Although bad faith filing cases
about intra-partnership disputes typically involve pending litigation between the partners, the
same principle that protects partners from bad faith petitions filed for the purpose of gaining a
tactical advantage in a pending lawsuit must likewise protect partners from bad faith filings
before litigation ensues.

When a debtor’s operational agreement grants a stakeholder the express right to withhold
consent to a bankruptcy, circumventing that right “through the ruse of soliciting an involuntary
case” can constitute bad faith. See In re Global Ship Sys., LLC, 391 B.R. 193, 203 (Bankr. S.D.
Ga. 2007) (dismissing bad faith involuntary petition because it was “a pure subterfuge for a
voluntary petition, filed by creditors at the instigation of [the debtor] or its managers/members”
to circumvent one stakeholder’s right to withhold consent to a voluntary petition). When
Comcast joined the partnership, it agreed that Astros must consent to any “voluntary filing of a
petition for bankruptcy.” General Partner Agreement, Schedule C(19). Comcast knew that the
Astros would not consent to a bankruptcy, so it orchestrated the filing of the Involuntary Petition
by its four affiliates as an end-run around the Astros’ consent rights. Doing so violated both the
spirit and the letter of the General Partner Agreement, which prohibits the “voluntary filing of a
petition for bankruptcy.” Jd. Because “voluntary” modifies “filing” rather than “petition,” the
General Partner Agreement prohibits the filing of any petition for bankruptcy without unanimous

consent, whether voluntary or involuntary. Jd. Comcast’s orchestration of the Involuntary

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Petition “falls squarely within the parameters which classically define a bad faith filing.” Global
Ship, 391 B.R. at 203.

Comcast’s own pleadings show that Comcast filed the Involuntary Petition on September
27 for the express purpose of invoking the automatic stay to prevent the Astros’ from exercising
their right to terminate the Astros’ Media Rights Agreement on September 30. See Trustee Mot.
41 (But for the automatic stay that came into effect upon the filing of this involuntary
bankruptcy case, the Astros would be entitled, as early as this Sunday, to terminate their Media
Rights Agreement for non-payment of the Astros Rights Fee installments.”). Comcast
specifically chose to file an involuntary bankruptcy because the automatic stay would provide
additional leverage by stripping the Astros of their most important bargaining chips in
negotiations between the partners.

As this Court has acknowledged, the good faith requirement does not permit a partner to
throw his partnership into bankruptcy to secure a tactical advantage in disputes with his partners
or to enrich himself at the partnership’s expense. See In re Nikiski Partners, Ltd., Case No. 09-
39332-HI-11, Closing Arguments Tr. at 35, 45 (Bankr. S.D. Tex. Dec. 30, 2009) (dismissing
bankruptcy petition filed in bad faith when “the actual motive was to benefit ... [the ultimate
interest holder in the debtor’s general partner]” and not to “protect [the debtor’s] assets for an
equitable distribution [Jor to further its rehabilitation.”) (Ex.9). Yet that is precisely what

Comcast is trying to do. Comeast seeks to nullify the Astros’ right to withhold consent for

discount affiliation agreements, iil
 

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Po Alternatively, Comcast proposes to use the bankruptcy to push the

Astros out of the partnership altogether, and to acquire “substantially all of [the Network’s]
assets” for itself. Trustee Mot. { 7. This too is a bad faith tactic designed to destroy the Astros’
consent rights and to abuse the bankruptcy process to accomplish indirectly what Comcast is
prohibited from doing directly under the Network’s Operating Agreements.

The alleged deadlock between the partners does not excuse Comcast’s bad faith. See In
re Westerleigh Dev. Corp., 141 B.R. 380 (Bankr. S.D.N.Y. 1992). Westerleigh involved a small
real estate development corporation owned by two 50% shareholders. One of the shareholders
sold a piece of land to the corporation in exchange for a mortgage, and the other shareholder was
going to build homes on the land through his family-owned construction company. The
shareholders became deadlocked in a dispute over the development of the land and were unable
to execute any corporate decisions or take any corporate action as a result of their dispute. The
contractor-shareholder sued the lender-shareholder on behalf of their jointly-held corporation,
alleging that the lender-shareholder had taken actions which prevented the corporation from
developing the land and claiming that he was owed a fee for construction work. In response, the
lender-shareholder sought to foreclose upon the land. To stay the foreclosure, the contractor-
shareholder’s construction company filed an involuntary chapter 11 petition against the
corporation. The court dismissed the petition, finding that “[t]he two feuding shareholders
may ... obtain appropriate relief without using the bankruptcy court as an additional weapon to
resolve their disputes.” Jd. at 40-41. So too here. If they are not able to resolve their
disagreement at the negotiating table, Comcast and the Astros can dissolve their partnership and

liquidate its assets according to the specific procedures they bargained for when they became

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partners. See Limited Partnership Agreement Art. XVII.!° There is no legitimate reason why a
bankruptcy court or trustee should referee and dictate the outcome of disputes governed by
contract and state law or why the Astros should be forced to participate with their hands tied
behind their back. The Astros are entitled to try and resolve this partnership dispute using the
leverage they bargained for when they agreed to let Comcast join the partnership—their consent
rights with respect to bankruptcy, termination of the Astros’ Media Rights Agreement, entry into
affiliation agreements, and sales of the assets of the Network, among others.

The Comcast Credit Agreement was thoroughly negotiated. Because the Astros’ media
rights are their most valuable asset, the Astros did not agree to contribute their media rights to
the Network or to grant a security interest in them. Instead, the Astros retained control over their
media rights, and Comcast Lender agreed to receive a security interest only in the Network’s and
the General Partner’s assets, which do not include the Astros’ media rights. Nor did Comcast
Lender protect its loan against the so-called deadlock it now complains of.'°® Instead, Comcast
squarely agreed to a number of provisions the Astros required to protect their media rights. By
invoking the automatic stay to prevent the Astros from terminating their Media Rights
Agreement, Comcast Lender seeks to use the bankruptcy process as a proxy for a secured interest

in media rights that it failed to obtain at the negotiating table.

 

'S Relevant sections of the Limited Partnership Agreement are attached as Ex. 10.

'® Comcast seeks to use corporate deadlock as both a sword and a shield, claiming both that corporate deadlock
led to the need for the filing, see Trustee Mot. §§ 5, 24-25, 36, 47, 55, 59, but also apparently the Astros have no
standing to contest the filing. Comcast cannot have it both ways. By arguing that the Network is deadlocked,
Comcast has conceded that the Astros have standing to challenge the Involuntary Petition. In re Synergistic
Techs., Inc., No. 07-31733-SGJ-7, 2007 WL 2264700, at *5 (N.D. Tex. Aug. 6, 2007) (shareholder had standing
to contest bankruptcy filing by deadlocked corporation); see In re Westerleigh Dev. Corp., 141 B.R. 38, 40
(Bankr. §.D.N.Y 1992) (same). Furthermore, the Astros have standing for the additional and independent
reason that the Involuntary Petition involves “a plan or scheme to achieve [some] other proscribed conduct,”
namely circumventing the Astros’ bargained-for partnership rights, for the purpose of securing an improper
advantage in the dispute between the partners. Jn re Ceiling Fan Distrib., Inc., 37 B.R. 701, 702 (Bankr. M.D.
La. 1983).

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The fact that Comcast entities are also creditors of the Network in addition to being
partners in the Network does not negate Comcast’s bad faith. See, e.g., Brazos, 471 F. App’x at
394 (in intra-partner dispute where creditors were “mainly insiders and affiliates,” petition was
filed in bad faith and was properly dismissed); Humble Place, 936 F.2d at 816 (where rea! estate
development partnership sought chapter 11 relief to avoid imminent foreclosure of its principal
secured creditor, there were only two unsecured non-insider creditors, whose total claims were
less than $7,000, and there was enough cash on hand at the date of bankruptcy to pay the non-
insider unsecured creditors, petition was properly dismissed as having been filed in bad faith).
This is because, as one court explained, “whether or not the [creditor-shareholder] has a bona
fide claim against the debtor which is not in dispute is irrelevant” because “[t]he bankruptcy
court should not be used by one shareholder to gain leverage over the other.” Jn re Westerleigh
Dev. Corp., 141 B.R. at 41.

The Network also has sufficient funds to satisfy the prepetition claims of all unaffiliated
third-party creditors. Moreover, the Network’s ability to pay creditors is backstopped by the
resources of the partners themselves. The Network and its General Partner have the right to
request emergency funding. If Comcast refuses to contribute the funding the Network requires,
the Astros are prepared to fund the payments of all prepetition claims of unaffiliated third-party
creditors listed on the Network’s accounts payable report dated as of September 24, 2013,
provided that the Network verifies the accuracy of that report in a timely manner. If Comcast
was truly concerned about the rights of the creditors, it would have brought the Petitioning
Creditors’ claims to the Astros’ attention and asked for emergency funding before rounding up

Comcast affiliates to unilaterally throw the partnership into bankruptcy.

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There is no threat to the Network’s unaffiliated third-party creditors. There is only a
partnership dispute and a petition describing a non-existent emergency manufactured by
Comcast, for Comcast, for the bad faith purpose of stripping the Astros of their rights and
negotiating leverage. The Involuntary Petition should be dismissed.

Il. THE PETITIONING CREDITORS CANNOT DEMONSTRATE THAT THERE
IS A POSSIBILITY OF A SUCCESSFUL REORGANIZATION.

The Involuntary Petition should also be dismissed for cause under Section 1112(b)
because there is not “reasonable likelihood” of a successful reorganization. 11 U.S.C.
§ 1112(b)(4)(A); see also In re JER/Jameson Mezz Borrower II, LLC, 461 B.R. 293, 299, 302-
304 (Bankr. D. Del. 2011) (dismissing bankruptcy petition pursuant to Section 1112(b) because
the the debtor had “no possibility of a reorganization”). All potential exits from this chapter 11]
proceeding—and both steps the Petitioning Creditors propose here, the appointment of a trustee
and the sale of substantially all of the Network’s assets—lead to a dead end. First, the Limited
Partnership Agreement is a personal services contract that cannot be assumed or assigned by a
trustee under Section 365(c)(1) of the Bankruptcy Code; and even if it could be assumed, the
Astros would continue to retain their consent rights to any transaction. Second, the Astros’
Media Rights Agreement is also a personal services contract and a trademark license that cannot
be assumed or assigned by a trustee under Section 365(c)(1). Finally, a trustee’s assumption of
the Astros’ Media Rights Agreement or assignment of that agreement to a third party would
trigger the Astros’ right to terminate the agreement under Section 365(e)(2)(A).

Importantly, each of these outcomes makes sense. Otherwise, four Comcast affiliates
would be able to thrust the Network into bankruptcy for the sole purpose of staying the Astros’
right to terminate the Astros’ Media Rights Agreement—and then use the bankruptcy

proceedings to acquire the Network’s assets, including the Astros’ Media Rights Agreement, and

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circumvent the Astros’ express consent requirement set forth in the General Partner Agreement.
The law does not permit such brazen corporate conduct. This proposed reorganization is futile
and therefore should be dismissed.

A. The Limited Partnership Agreement Cannot Be Assumed Or Assigned
Without The Astros’ Consent.

An agreement among partners, like the partnership here, is unique in the law. “It is not
only a legal relationship, but it is also a personal relation or status, somewhat as marriage is a
relation or status.” In re Harms, 10 B.R. 817, 822 (Bankr. D. Colo. 1981). Because a
partnership agreement is “a contract based upon personal trust and confidence,” it cannot be
assumed or assigned by a bankruptcy trustee and even if it could, the Astros would retain their
consent rights—all of which underscores the futility of a bankruptcy proceeding. See id. at 821.

1. The Limited Partnership Agreement is a Personal Services Contract
that Cannot be Assumed or Assigned Without the Astros’ Consent.

Section 365(c)(1) of the Bankruptcy Code provides that a “trustee may not assume or
assign any executory contract” if “applicable law excuses [the non-debtor party] from accepting
performance from or rendering performance to an entity other than the debtor or the debtor in
possession,” without receiving the non-debtor party’s consent. 11 U.S.C. § 365(c). Under
Delaware law—-the “applicable law” that governs the Limited Partnership Agreement—an
executory personal services contract is not assignable. See Great Am. Opportunities, Inc. v.
Cherrydale Fundraising, LLC, No. 3718-VCP, 2010 WL 338219, at *11 (Del. Ch. Jan. 29,
2010); In re Martin, 117 B.R. 243, 249 (Bankr. N.D. Tex. 1990) (“If the particular contract is
personal in its character and calls for the personal services of either party or if it creates
personalized relationships based on personal credit, confidence, and trust, or requires the
exercise of knowledge, skill, or taste peculiar to either party, the duties under the contract may

not be delegated (i.e. assigned) regardless of the skill or competence of the person to whom the

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duties are proposed to be delegated.”). Section 365(c) therefore exists “to prevent a trustee from
forcing a party to accept performance from, or provide performance to, someone other than the
party with whom it contracted in those situations where the identity of the party is central to the
obligation itself. The paradigmatic example of such an agreement is the so-called ‘personal
services contract’....” In re Lil’ Things, Inc., 220 B.R. 583, 590 (Bankr. N.D. Tex. 1998)
(internal quotations & citation omitted); see also In re Taylor, 913 F.2d 102, 106 (3d Cir. 1990).

The Limited Partnership Agreement is an executory personal services contract. It is
executory because it contemplates ongoing and substantial performances by all parties, including
the operation of a regional sports network and sublicensing of media rights. See Limited
Partnership Agreement § 3.1; see also N.L.R.B. v. Bildisco & Bildisco, 465 U.S. 513, 522 n.6
(1984) (executory contract is generally defined as a “contract on which performance is due to
some extent on both sides”) (internal quotations & citation omitted); Jn re O’Connor, 258 F.3d
392, 400 (Sth Cir. 2001) (partnership agreement was executory contract). It is a personal
services contract because the identity of the partners is material to the agreement. See, e.g., In re
Lil’ Things, 220 B.R. at 590-91. A change in the identity of any Network partner would impair
the rights of the other partners, including the Astros. Indeed, the Astros selectively partnered
with the Rockets and Comcast to create a one-of-a-kind regional sports television network in the
Houston market to distribute the teams’ games and programming year-round. The character,
reputation, and skill of each partner is critical to this partnership, and therefore the Limited
Partnership Agreement is a personal services contract. See id.

Because the Limited Partnership Agreement is an executory personal services contract,
Delaware law excuses the Astros from rendering performance to anyone other than the pre-

petition contract party. See Great Am. Opportunities, 2010 WL 338219, at *11. In order for

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Section 365(c)(1) to apply, this Circuit further requires that there will be an actual—not merely
hypothetical—assumption or assignment such that the contract will be performed by an entity
other than the pre-petition contract party. See In re Mirant Corp., 440 F.3d 238, 249-51 (5th Cir.
2006) (adopting actual, as opposed to hypothetical, test). The circumstances here satisfy that
requirement, as set forth in detail below, and therefore Section 365(c)(1) prohibits a trustee from
assuming or assigning the partnership agreement without the Astros’ consent. See In re Taylor,
913 F.2d at 106 (“It is clear that contracts for personal services fall within [Section 365]
(c)(1)(A), since ‘applicable law’ excuses the parties from accepting performance from, or
rendering performance to, non-signatories.”); In re Lil’ Things, Inc., 220 B.R. at 590; In re
Catron, 158 B.R. 624, 627-28 (Bankr. E.D. Va. 1992) (noting that “the agreement or contract
governing the partnership is essentially a contract for personal services, which renders it also
nondelegable and nonassumable”), aff’d, 158 B.R. 629 (E.D. Va. 1993), aff'd, 25 F.3d 1038 (4th
Cir. 1994); In re Sunset Developers, 69 B.R. 710, 713 (Bankr. D. Idaho 1987).!”

The inability of a trustee to assume or assign the Limited Partnership Agreement ensures
that there can be no viable reorganization here. Without the very agreement that governs the
partnership, reorganization cannot be successful. The Involuntary Petition should be dismissed.

2. The Limited Partnership Agreement Must Be Accepted or Rejected in
Its Entirety and Cannot Be Rewritten in Reorganization.

Even if a trustee could assume the Limited Partnership Agreement—which it cannot—it

would have to assume the entire agreement, including the unanimous consent provisions.

 

'7 See also In re Footstar, Inc., 323 B.R. 566, 573 (Bankr. S.D.N.Y. 2005) (“The basic objective of the limitation
under Section 365(c)(1) is vindication of the right under applicable law of a contract counterparty to refuse to
accept performance from or render performance to an entity ‘other than the debtor or the debtor in possession.”
A trustee is an ‘entity other than the debtor or the debtor in possession’—the trustee is an entirely different
entity, who has succeeded by operation of the Bankruptcy Code to all the debtor’s property including
contracts.”) (emphasis in original).

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Section 365(a) permits a trustee to assume or reject any of the debtor’s executory
contracts, subject to court approval. See 11. U.S.C. § 365(a). However, it is black-letter law that
if a debtor elects to assume an executory contract, it must assume the entire agreement with all of
its benefits and burdens. Bildisco, 465 U.S. at 531; see In re Williams, 299 B.R. 684, 687
(Bankr. S.D. Ga. 2003) (denying motion to assume lease where “Debtor s[ought] to have the
Court remove an onerous provision of the lease”); 3 Collier on Bankruptcy § 365.03[3] (16th ed.
2013) (“An executory contract may not be assumed in part or rejected in part.”).

This complete assumption requirement means that a trustee could not assume the Limited
Partnership Agreement while avoiding the unanimous consent provisions of the General Partner
Agreement that are expressly incorporated into the Limited Partnership Agreement. See Limited
Partnership Agreement § 6.8. The unanimous consent provisions too must be assumed along
with the partnership agreement. See, e.g., In re Rachels Indus., 109 B.R. 797, 804 (Bankr. W.D.
Tenn. 1990) (holding that when a debtor seeks to assume an agreement that incorporates another
contract by reference, the debtor must also abide by the terms of that incorporated contract); see
also In re Ok Kwi Lynn Candles, Inc., 75 B.R. 97, 101 (Bankr. N.D. Ohio 1987). Moreover,
because the Limited Partnership Agreement and the General Partner Agreement operate in
tandem and are “clearly interrelated,” In re Plum Run Service Corp., 159 B.R. 496, 499 (Bankr.
S.D. Ohio 1993), the terms of the General Partner Agreement cannot be excised from the
Limited Partnership Agreement without impermissibly altering the parties’ essential bargain and
prejudicing the Astros, see In re East Hampton Sand & Gravel Co., 25 B.R. 193, 198 (Bankr.
E.D.N.Y. 1982) (holding that Section 365 does not permit a debtor “to relieve itself of conditions
which are clearly vested by the contracting parties as an essential part of their bargain and which

do not contravene overriding federal policy”).

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